             Case 8:18-bk-03231-MGW         Doc 14   Filed 06/07/18   Page 1 of 5



                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

In re:

Denise F Fontaine and                       Case No. 8:18-bk-03231-MGW
Christie A. Fontaine,                       Chapter 7

Debtor(s).
                                        /

                     BANK OF NEW YORK MELLON’S
              MOTION FOR RELIEF FROM THE AUTOMATIC STAY
   NOTICE OF OPPORTUNITY TO OBJECT AND REQUEST FOR HEARING

               Pursuant to Local Rule 2002-4, the Court will consider the
               relief requested in this paper without further notice or
               hearing unless a party in interest files a response within
               twenty-one (21) days from the date set forth on the attached
               proof of service, plus an additional three days for service if
               any party was served by U.S. Mail.

               If you object to the relief requested in this paper, you must
               file your response with the Clerk of the Court at 801 North
               Florida Avenue, Suite 555, Tampa, Florida 33602 and serve
               a copy on the Movant’s attorney, Leslie Rushing, Esq.,
               Quintairos, Prieto, Wood & Boyer P.A., 1475 Centrepark
               Blvd., Suite 130, West Palm Beach, Florida 33401, and any
               other appropriate persons within the time allowed. If you file
               and serve a response within the time permitted, the Court
               will either schedule and notify you of a hearing or consider
               the response and grant or deny the relief requested without a
               hearing.

               If you do not file a response within the time permitted, the
               Court will consider that you do not oppose the relief
               requested in the paper, will proceed to consider the paper
               without further notice or hearing, and may grant the relief
               requested.

         COMES NOW, THE BANK OF NEW YORK MELLON FKA THE BANK OF

NEW YORK, AS TRUSTEE FOR CERTIFICATEHOLDERS OF CWABS INC., ASSET-

                                            1
            Case 8:18-bk-03231-MGW           Doc 14   Filed 06/07/18    Page 2 of 5



BACKED CERTIFICATES, SERIES 2007-5, Movant, by and through its attorney, Leslie

Rushing of Quintairos, Prieto, Wood & Boyer, P.A., and respectfully moves this Court for

an order granting Movant relief from stay and, to recover and dispose of its real property

located at 7655 58th St., Pinellas Park, FL 33781 purchased by Debtor, financed by

Movant, and more particularly described in the documents attached hereto. Grounds for

this motion are as follows:


       1.      Debtors filed a voluntary Chapter 7 Bankruptcy on April 20, 2018.

       2.      Pursuant to the provisions of 11 U.S.C. § 362(d)(1), upon request of a

party in interest, the court shall grant relief from the stay for cause including lack of

adequate protection of an interest in property.


       3.      THE BANK OF NEW YORK MELLON FKA THE BANK OF NEW

YORK, AS TRUSTEE FOR CERTIFICATEHOLDERS OF CWABS INC., ASSET-

BACKED CERTIFICATES, SERIES 2007-5, Movant, is the holder of a Note and

Mortgage for the real property located at 7655 58th St., Pinellas Park, FL 33781 (copies of

Note and Mortgage are attached hereto as Composite Exhibit “A”).


       4.      The aforementioned Mortgage gives Movant a first mortgage lien position

on said property, more specifically described as:




                                              2
             Case 8:18-bk-03231-MGW           Doc 14      Filed 06/07/18      Page 3 of 5



        5.      Debtor has defaulted under the terms of the Note and Mortgage by failing to

make regular payments when due and owing pursuant to Note and Mortgage. The Debtor is

due for the March 1, 2010 payment.


        6.      There remains due and owing on the Note and Mortgage referenced in

paragraph three hereof, the unpaid principal balance of $179,082.30, as of April 23, 2018,

plus interest, which does not reflect attorney fees and costs associated with the filing of this

Motion for Relief from the Automatic Stay.

        7.      The estimated market value of the Property is $115,384.00. The basis for

such valuation is the Debtors’ Schedule A. A copy of the valuation is attached as Exhibit

“B”.

        8.      The Statement of Intention filed in this case by the Debtors provides for

surrender of the Collateral under Section 521(a)(2)(A) of the Bankruptcy Code.

Accordingly, the Debtor(s) must surrender the Collateral to the Creditor as lienholder such

that the Debtor(s) make the Collateral available to the Creditor and give up any rights to the

Collateral, including the right to defend or contest any related state court foreclosure action.

Creditor requests that any order granting relief from stay provide that Debtor(s) is/are

precluded from defending or taking any overt act that impedes the Creditor's ability to

foreclose its interest in the Collateral and pursue its in rem contractual state court rights in a

foreclosure action. In re Failla, 383 F.3d 1170 (11 Cir. 2016).


        9.      Movant is not adequately protected as there is no equity in the property and

no payments are being made by Debtor(s).




                                                3
             Case 8:18-bk-03231-MGW           Doc 14     Filed 06/07/18     Page 4 of 5



       10.     Movant is entitled to relief from stay to recover possession of the property

and liquidate its security interest as it lacks adequate protection in the bankruptcy.


       WHEREFORE, Movant, THE BANK OF NEW YORK MELLON FKA THE

BANK OF NEW YORK, AS TRUSTEE FOR CERTIFICATEHOLDERS OF CWABS

INC., ASSET-BACKED CERTIFICATES, SERIES 2007-5, prays this Honorable Court

order that the automatic stay of 11 U.S.C. § 362(a) be terminated to allow Movant (and any

successors or assigns) to proceed under applicable non-bankruptcy law to enforce its

remedies to foreclose upon and obtain possession of the Property, that the Order is binding

and effective despite any conversion of this bankruptcy case to a case under any other

chapter of Title 11 of the United States Code, to waive the 14-day stay requirement, for

attorney fees and costs and any other further relief the Court may deem just and equitable.


                                              Respectfully submitted,

Dated: June 7, 2018                            /s/ Leslie Rushing
                                               Leslie Rushing, Esq.
                                               Florida Bar No. 98106
                                               Quintairos, Prieto, Wood & Boyer, P.A.
                                               1475 Centrepark Blvd., Suite 130
                                               West Palm Beach, FL 33401
                                               Telephone: (561) 686-1880 x 1311
                                               Fax: (561) 686-1886
                                               Primary Email:
                                               leslie.rushing@qpwblaw.com
                                               Secondary Email:
                                               flmdbknotices@qpwblaw.com




                                               4
           Case 8:18-bk-03231-MGW            Doc 14     Filed 06/07/18      Page 5 of 5



                              CERTIFICATE OF SERVICE

         I certify that I have caused to be served a copy of the foregoing Motion for Relief,
by first class mail, postage prepaid and/or by CM/ECF electronic filing upon the parties
listed below.

Dated: June 7, 2018                           /s/ Leslie Rushing
                                              Leslie Rushing, Esq.
                                              Florida Bar No. 98106

Copies Furnished To:

By CM/ECF Receipt:

William J Kopp, Jr.
Kopp Law PA
360 Central Ave, Suite 1570
St. Petersburg, FL 33701
Email: kopplawpa@gmail.com

Trustee
Stephen L Meininger
707 North Franklin Street
Suite 850
Tampa, FL 33602

U.S. Trustee
United States Trustee - TPA7/13
Timberlake Annex, Suite 1200
501 E Polk Street
Tampa, FL 33602

By First Class Mail:

Denise F Fontaine and
Christie A. Fontaine
7655 58th Street North
Pinellas Park, FL 33781




                                               5
